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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER: 2:21-cv-04758-JVS-JDE
GUANGZHOU YUCHENG TRADING
CO., LTD., et al.
                                                 PLAINTIFF(S)
                              v.

                                                                           REQUEST FOR APPROVAL OF
DBEST PRODUCTS, INC., et al.                                             SUBSTITUTION OR WITHDRAWAL
                                               DEFENDANT(S)
                                                                                 OF COUNSEL

                                                   INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another member
of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the only member
in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing attorney should
complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this “Request for
Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing attorney's
firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw should complete
and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit a proposed "Order
on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of points
and authorities.

SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Paul P. Young                                                             CA Bar Number: 257571
Firm or agency: CHORA YOUNG & MANASSERIAN LLP
Address: 650 Sierra Madre Villa Ave., Suite 304, Pasadena, CA 91107
Telephone Number: 626-744-1838
E-mail: paul@cym.law
Counsel of record for the following party or parties: Defendant, Counter-claimant, and Judgment Creditor DBEST
PRODUCTS, INC.


Other members of the same firm or agency also seeking to withdraw: Nikko S. Stevens (CA Bar # 305843)
nikko@cym.law


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SECTION II - NEW REPRESENTATION

        No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
        to be represented by another attorney/firm who has already entered an appearance as counsel of record for that party
        or parties in this case, and who is a member in good standing of the Bar of this Court.
        The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
        proceed pro se, as self-represented litigants.

        The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
        who is a member in good standing of the Bar of this Court:

        Name:                                                                              CA Bar Number:

        Firm or agency:

        Address:

        Telephone Number:
        E-mail:


SECTION III - SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be allowed
to withdraw from this case.

                  08/01/2024                          Signature: /s/Paul P. Young
     Date:

                                                      Name:        Paul P. Young

New Attorney (if applicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.


     Date:                                            Signature:

                                                      Name:

Party Represented by Withdrawing Attorney
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):
                                             substitution of counsel as specified above.
                                             representing myself pro se in this case.


     Date:                                            Signature:

                                                      Name:
                                                      Title:
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